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UNITED STATES DISTRICT C.'OURT ‘- D_c_
WESTERN DISTRICT OF TENNESSEE USAUG
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]HOWSM GOULD
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UNITED STATES OF AMERICA,
Plaintiff,
v. Case Number 05-20075-Ma
RONALD HUGHES,
Defendant.
J'UDGMENT
Decision by Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.
IT IS ORDERED AND ADJUDGED that the Indictment returned

against Ronald Hughes is dismissed in accordance with the Order
docketed August 26, 2005.

IUPPFKTVIHJ:

j////wr_._

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 69 in
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Honorable Samuel Mays
US DISTRICT COURT

